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 4
       Attorney for Samantha Condes,
 5

 6
                           UNITED STATES DISTRICT COURT
 7
                         SOUTHERN DISTRICT OF CALIFORNIA
 8
                        HONORABLE ANTHONY J. BATTAGLIA
 9

10

11     UNITED STATES OF AMERICA,                    Case No. 3:21-cr-3198-AJB-1
12                  Plaintiff,
                                                    Date: March 28, 2022
13
                                                    Time: 9:00 a.m.
14     v.
15
                                                    DEFENDANT’S SENTENCING
       SAMANTHA CONDES,
16                                                  SUMMARY CHART
17                  Defendant.
18

19

20           The defendant, Samantha Condes, by and through her counsel, Linh T.
21     Nguyen, hereby files her Sentencing Summary Chart, which is based upon the
22     files and records of this case.
23

24                                                  Respectfully Submitted,
25
       Dated: March 21, 2022                        /s/ Linh T. Nguyen
26
                                                        Linh T. Nguyen
27
                                                    Attorney for Samantha Condes
28

                                               1
       Case 3:21-cr-03198-AJB         Document 64 Filed 03/21/22 PageID.280                 Page 2 of 2
                                     SENTENCING SUMMARY CHART
                                                                                              USPO:
                                                                                             AUSA:
                                                                                               DEF:        X

Defendant’s Name:         Samantha Condes                             Docket No.  3:21-cr-3198-AJB
Attorney’s Name:          Linh T. Nguyen                                Phone No.: (619) 512-2126

Guideline Manual Used:          November 1, 2018             Agree with USPO Calc.:                   In Part

Base Offense Level: U.S.S.G. § 2L1.1(a)(3)
                                                                                                          12

Specific Offense Characteristics:




Adjustments:
Adjustment for Role in the Offense [USSG § 3B1.2]:                                                        -2



Adjusted Offense Level:
  Combined (Mult. Counts)          Career Offender   Armed Career Criminal                             10

Adjustment for Acceptance of Responsibility: [X Government Motion-USSG § 3E1.1]                           -2

Total Offense Level:                                                                                       8
Criminal History Score:                                                                                    0
Criminal History Category:                                                                                  I
   Career Offender Armed Career Criminal
Guideline Range:
   (Range limited by: Minimum Mandatory Statutory Maximum)                      from:            0 months
                                                                                     to:           6 months
Departures:
[USSG § 5K3.1] “Fast-Track”                                                                               -2
[USSG § 5K2.20] Aberrant Behavior                                                                         -2
[USSG § 5H1.1] Age                                                                                        -2


Adjusted Offense Level:                                                                                    2
Resulting Guideline Range:                                                        from:            0 months
                                                                                      to:          6 months
Recommendation:
Time Served, to be followed by 1 year of Supervised Release, No Fine, $100 Special Assessment Fee Waived
